      Case 1:18-cv-04476-LJL-SLC Document 205 Filed 11/02/20 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
LOCAL 3621, EMS OFFICERS UNION, DC-37, AFSCME,
AFL-CIO, et al.,

                               Plaintiffs,
                                                          CIVIL ACTION NO.: 18 Civ. 4476 (LJL) (SLC)
       against
                                                                  TELEPHONE CONFERENCE
THE CITY OF NEW YORK, et al.,
                                                                    SCHEDULING ORDER
                               Defendants.


SARAH L. CAVE, United States Magistrate Judge.

       Pursuant to the discovery conference held today, November 2, 2020, the Court orders as

follows:

       1. Plaintiffs’ motion for sanctions (ECF No. 164) continues to be held in abeyance

           pending the next conference with the Court as scheduled below.

       2. The question of whether Defendants intend to assert the deliberative process

           privilege with respect to New York Civil Service Law § 59-b is held in abeyance pending

           the completion of class certification depositions and production of Defendants’

           privilege log.

       3. The parties are expected to continue to meet-and-confer regarding scheduling of the

           remaining depositions. The Court understands the remaining depositions to be

           scheduled as follows:

                 a. Liliane Bonsignore – deposition scheduled for November 6, 2020;

                 b. Margo Ferrandino – deposition scheduled for November 10, 2020;
      Case 1:18-cv-04476-LJL-SLC Document 205 Filed 11/02/20 Page 2 of 3




              c. Chief Jerry Gumbo – to be produced on November 17, 2020 from 9:30 am to

                  1:00 pm, and November 18, 2020 from 9:30 am to 1:00 pm;

              d. Nathan Chang – to be re-produced for three hours regarding the employee

                  data spreadsheets;

              e. Chief Alvin Suriel – to be re-produced for two hours regarding his involvement

                  with the FDNY promotional process from 2018 to 2020; and

              f. November 23, 2020 is held as a date for Defendants’ witness on remaining

                  topics pursuant to Fed. R. Civ. P. 30(b)(6), if necessary.

       4. Plaintiffs’ deadline to submit a reply in further support of the Motion to Compel at

           ECF No. 192 is extended from November 6, 2020 to November 11, 2020.

       5. By November 6, 2020, Plaintiffs are directed to file a letter regarding any remaining

           topics on which they seek to depose a witness for Defendants pursuant to Fed. R. Civ.

           P. 30(b)(6).

       6. By November 6, 2020, Defendants shall file a response to the Motion to Quash at ECF

           No. 201. Plaintiffs’ reply is due November 13, 2020.

       7. Defendants are directed to make every effort to produce the non-electronic

           promotional records from January 2012 to May 2013 by November 6, 2020. At the

           next conference, Defendants will be expected to update the Court on the status of

           production of these documents.

       The Court will hold a telephone conference on Monday, November 9, 2020 at 12:00 pm

to discuss the outstanding discovery issues set forth above. The parties are directed to call the

Court’s conference line at: 866-390-1828; access code: 380-9799, at the scheduled time.


                                                 2
     Case 1:18-cv-04476-LJL-SLC Document 205 Filed 11/02/20 Page 3 of 3




         The Clerk of Court is respectfully directed to close the Motion at ECF No. 200.


Dated:          New York, New York
                November 2, 2020                             SO ORDERED




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